          Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 1 of 6


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




State of Colorado, et. al.,
Plaintiffs,

vs.                                                     Civil Action No. 20-cv-3715
                                                        Hon. Amit P. Mehta
Google,
LLC.
Defendant.




 MOTION OF THE AMERICAN ANTITRUST INSTITUTE FOR LEAVE TO FILE AN
                            AMICUS BRIEF


        The American Antitrust Institute (“AAI”) (“Proposed Amicus”) respectfully moves for

leave to file an amicus brief in this case in support of the Plaintiff States’ Opposition to Google’s

Motion for Summary Judgment. The proposed brief, which is attached as Exhibit A, addresses

the legal standard for Sherman Act Section 2 claims on summary judgment, and in particular, the

applicability of caselaw on product design, refusal to deal and price squeeze. As an independent,

nonprofit organization devoted to promoting competition that protects consumers, businesses

and society, AAI has a strong interest in ensuring that the standards adopted by courts in

assessing a motion for summary judgment allow for effective Section 2 enforcement. Proposed

Amicus submit that the brief is desirable for the reasons discussed below. The filing is timely

because the redacted versions of Plaintiffs’ Oppositions to Google’s Motion for Summary

Judgement have only been publicly available since February 16, 2023. Moreover, no party will

be prejudiced by the timing because Defendant Google is able to review this filing a week before

Defendant Google's deadline for a reply. Proposed Amicus’s brief complies with the

requirements in LCvR 7(o) including its 25-page limit.


                                                  1
         Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 2 of 6
                                 STATEMENT OF INTEREST

    AAI is an independent, nonprofit organization devoted to promoting competition that protects

consumers, businesses, and society. It serves the public through research, education, and

advocacy on the benefits of competition and the use of antitrust enforcement as a vital component

of national and international competition policy. AAI enjoys the input of an Advisory Board that

AAI enjoys the input of an Advisory Board that consists of over 130 prominent antitrust lawyers,

law professors, economists, and business leaders.

    Proposed Amicus’ interest in this matter is that they are public interest advocates who seek

to improve the administration of the antitrust laws and ensure that antitrust enforcement best

serves the interests of competition and consumers. The Court’s analysis and ultimate decision

in this matter affects the Proposed Amici because those goals cannot be achieved without

appropriate application of summary judgment standards in monopolization cases.




1Individual views of members of AAI’s Board of Directors or Advisory Board may differ from
AAI’s positions.
                                                 2
          Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 3 of 6



                                            ARGUMENT

I.       Proposed Amicus’ brief is desirable as it embraces a matter essential to the disposition
         of the case and provides additional insight for the Court not likely to come from the
         parties’ briefing.

         Leave to file amicus briefs is appropriate when a putative amicus has “a sufficient

‘interest’ in the case and [its] brief is ‘desirable’ and discusses matters that are ‘relevant to the

disposition of the case.’” Neonatology Associates, P.A. v. C.I.R., 293 F.3d 128, 128 (3d. Cir.

2002) (Alito, J.); see Fed. R. App. P. 29(a)(3)(B); LCvR 7(o) (standards for amicus briefs); see

also United States v. Philip Morris USA Inc., No. 99-2496, 2005 WL 8160465, at *2 (D.D.C.

Sept. 1, 2005) (quoting Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C. 2003)) (granting leave

to file amicus brief where the proposed amici could “provide the [Court] ‘unique information or

perspective that can help the court beyond the help that the lawyers for the parties are able to

provide’”).

         “[I]t is preferable to err on the side of granting leave.” Neonatoglogy Associates, 293

F.3d at 132-33. “District courts frequently welcome amicus briefs from non-parties concerning

legal issues that have potential ramifications beyond the parties directly involved ....... ” Trunk v.

City of San Diego, No. 06cv1597, 2007 WL 9776582, at *1 (S.D. Cal. Dec. 10, 2007). And

federal appellate courts “grant motions for leave to file amicus briefs unless it is obvious that the

proposed briefs do not meet [the enumerated] criteria as broadly interpreted.” Neonatoglogy

Associates, 293 F.3d at133; see Massachusetts Food Ass’n v. Massachusetts Alcoholic

Beverages Control Comm’n, 197 F.3d 560, 567 (1st Cir. 1999) (Boudin, J.) (“[A] court is usually

delighted to hear additional arguments from able amici that will help the court toward right

answers ....... ”).




                                                   3
         Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 4 of 6



       Here, Proposed Amicus submits that its brief would be useful and desirable because it

lays out the proper legal framework for summary judgment on a Sherman Act Section 2 claim

and emphasizes the problematic consequences for antitrust enforcement if defendants can

successful move for summary judgement under a legal framework that discounts the mutually

reinforcing and synergistic effects of its alleged monopolistic conduct or by invoking caselaw on

exceptions to antitrust scrutiny that are not applicable as a matter of law or policy.

       Unlike the briefing from the parties, the proposed amicus brief focuses primarily on the

proper legal framework for summary judgement and not the merits of the present matter. AAI is

uniquely qualified to present this perspective as it brings a wealth of experience and expertise in

the field and specifically in questions about the standards for an adequate Sherman Act Section

2 claim. AAI has filed amicus briefs in multiple cases regarding the proper standard for motions

to dismiss and summary judgment in Sherman Act Section 2 claims, including most recently,

Innovative Health.v. Biosense, No. 22-55413 (9th Cir.), New York v. Facebook, No. 21-7078

(D.C. Cir.), and Sanofi-Aventis U.S., LLC, v. Mylan, Inc. No. 21-3005 (10th Cir). See

https://www.antitrustinstitute.org/work-products/type/amicus-briefs/.

       Finally, Google moves for summary judgment on all counts of the States’ case so the

proper application of summary judgment standards in Sherman Act Section 2 will be essential to

the proper disposition of the case.




                                                  4
        Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 5 of 6



II.    Proposed Amicus has conferred with the parties to this litigation.

       Based on communications with the parties, Proposed Amicus understands that Google

objects to Proposed Amicus’ Motion, while Plaintiffs do not oppose the Motion.

                                           CONCLUSION

       For the foregoing reasons, Proposed Amicus respectfully requests that the court grant

their Motion for Leave to File an Amicus Brief and order that Proposed Amicus may file the

attached amicus brief.



                                            Respectfully submitted,

                                            /s/ Kathleen Bradish
                                            KATHLEEN BRADISH (D.C. BAR NO. 494750)
                                            AMERICAN ANTITRUST INSTITUTE
                                            1025 Connecticut Avenue, NW, Suite 1000
                                            Washington, DC 20036
                                            (202) 304-0195
                                            kbradish@antitrustinstitute.org
                                            Counsel to Proposed Amicus Curiae


Dated: February 17, 2023




                                               5
         Case 1:20-cv-03010-APM Document 508 Filed 02/17/23 Page 6 of 6




                                 CERTIFICATE OF SERVICE

        I hereby certify that on Feburary 17, 2023, I electronically filed a true and correct copy of
the foregoing MOTION OF THE AMERICAN ANTITRUST INSTITUTE FOR LEAVE
TO FILE AN AMICUS BRIEF with the Clerk via the CM/ECF system which will send
notification of such filing and service upon all counsel of record.



                                            /s/ Kathleen Bradish
                                            Kathleen Bradish
                                            American Antitrust Institute
                                            1025 Connecticut Avenue NW, Suite 1000
                                            Washington, D.C., 20036
                                            P: 202-304-0195
